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                                                              United States Bankruptcy Court
                                                           Western District of Texas Midland/Odessa
 In re      Arabella Petroleum Company, LLC                                                           Case No.
                                                                                 Debtor(s)            Chapter      11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification
or recusal, the undersigned counsel for Arabella Petroleum Company, LLC in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



    None [Check if applicable]




 July 10, 2015                                                       /s/ Bernard R. Given
 Date                                                                Bernard R. Given
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Arabella Petroleum Company, LLC
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